Case 2:15-cv-09692-PSG-E Document 71-1 Filed 02/14/17 Page 1 of 2 Page ID #:459



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                         UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9
                                  WESTERN DIVISION
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11   Consumer Financial Protection Bureau,     Case No. 2:16-cv-2725-PSG(Ex)
                                               to be consolidated with:
12                           Plaintiff,        Case No. 2:15-cv-9692-PSG(Ex)
                                               Case No. 2:16-cv-2724-PSG(Ex)
13         vs.
14   Davit Gasparyan, a/k/a David Gasparyan,   [PROPOSED] ORDER
15                           Defendant.
16   Consumer Financial Protection Bureau,     [filed concurrently with Notice of
                                               Motion and Motion to Consolidate
17                           Plaintiff,        Pretrial Proceedings in Related
                                               Actions]
18         v.
     D and D Marketing, Inc., d/b/a T3Leads,   Judge:        Hon. Philip S. Gutierrez
19   Grigor Demirchyan, and Marina Demirchyan, Courtroom:    6A
20                            Defendants.
21   Consumer Financial Protection Bureau,
22                           Plaintiff,
23         v.
24   Dmitry Fomichev,
25                           Defendant.
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                                   [PROPOSED] ORDER
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1                                    [PROPOSED] ORDER
2            Upon consideration of the pleadings, papers, and arguments of counsel, and
3    with CAUSE shown, Defendant Davit Gasparyan, a/k/a David Gasparyan’s Motion
4    to Consolidate Pretrial Proceedings in Related Actions is GRANTED.
5         The Court HEREBY ORDERS that, being the matters of:
6                (1)    Consumer Financial Protection Bureau v. D and D Marketing, et
7                       al, CV 15-9692 PSG (Ex);
8                (2)    Consumer Financial Protection Bureau v. Fomichev, CV 16-2724
9                       PSG (Ex); and
10               (3)    Consumer Financial Protection Bureau v. Gasparyan, CV 16-
11                      2725 PSG (Ex);
12   are related, they are consolidated for pretrial purposes only and upon a schedule
13   which will be set by the Court. As these three cases all arise from the Consumer
14   Financial Protection Bureau’s allegations that D and D Marketing, Inc. d/b/a
15   T3Leads, violated the Consumer Financial Protection Act, and involve the same
16   parties, identical legal claims and virtually identical factual allegations, judicial
17   economy and the risk of inconsistent results demand consolidation of these cases for
18   discovery and pre-trial matters.
19        [To that end, the Court hereby vacates and adjourns the Scheduling Conference
20   date previously set in CFPB v. D and D Marketing and CFPB v. Fomichev for March
21   20, 2017 and reschedules them to be held with the Rule 16(b) Scheduling
22   Conference in CFPB v. Gasparyan set for April 3, 2017 at 2:00 p.m.]
23        [The Court sets the Scheduling Conference for all three matters referenced
24   above for ________________, 2017 at 2:00 p.m.]
25        IT IS SO ORDERED.
26        DATED: _______________                          __________________________
27                                                        United States District Court Judge
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                                     [PROPOSED] ORDER
